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US P'STEicT COURT
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UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF COLORADO

COUNTY OF DENVER

James A McKee, CASE NO.
Plaintiff,
; ACTION FOR TRESSPASS ON
Vs. THE CASE
loanDepot.Com, LLC., et al., VERIFIED

Defendants.

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FIRST CAUSE OF ACTION — TRESPASS ON THE CASE

 

PARTIES
1. I am James A McKee, one of the people of Colorado, and in
this court of record complain of LoanDepot.Com, LLC., a limited
liability company who is summoned to answer the said Plaintiff

in a plea of trespass on the case, to wit:

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INTRODUCTION
2. Beginning November 20, 2015, I started to receive
unsolicited telephone calls to my private Colorado based
telephone number. These calls were to market Home refinancing
products and originated from the entity loanDepot.com, LLC,
and/or the telemarketing agency they use to generate sales

leads.

3. The first 13 telephone calls were logged and appeared to
originate from a local number. The first 12 calls were not
answered but were logged. The 13 was answered to obtain
information to expose the true identity of the caller. In
calling the number back as appeared on my caller ID, the number

was disconnected.

4. After finally answering the 13" call to stop the relentless
abuse and obtain information on the caller, a new round of calls
(call 14 - call 65) began. They were logged and appeared also to
originate from another telephone number appearing also be local
as well. After call #14, I attempted to stop the relentless
abuse by calling the number back, to listen to a prerecorded
greeting announcing the company name stating “Loan Depot”. There
was also an option to opt-out of future calls, but this did not
appear to work and resulted in disconnecting the call. I tried

again moments later with the same result.

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5. The calls continued for many days more, each violating

Federal and Colorado State Law.

SPECIFICS

6. That I am the owner of telephone number (303)258-1000, a
Colorado based telephone number, and have owned this number for
approximately 15 % years.

10. That beginning on 11/20/15, I received 13 unsolicited phone
calls from telephone number caller ID reported (303) 752-1621.
This is a disconnected number and possibly hijacked/spoofed to
appear as local originating from the Denver metro area. This was

verified by returning the call to find it was disconnected.

7. That these unsolicited phone calls were to offer some sort
of mortgage loans and/or personal loans. I have never inquired
with this entity or any affiliate regarding interest in mortgage
or personal loans and that the nature of these calls are

completely unsolicited and unwanted.

8. I have been registered with the Federal Do Not Call Registry
since April 21, 2005 (see exhibit “A”) and Colorado State No-
Call List since July 7, 2005 (see exhibit “B”). That though I
did not answer these unsolicited calls, my voice mail system
logged and time-stamped each call (see exhibit “C”). Most of the

calls had a voice stating “Hello, Hi, This is Sarah (and/or

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another female name). How are you doing today?” (see digital

file exhibits “D1, D2 and D3 on CD-ROM).

9. That on 12/8/15, after being frustrated with the constant
bombardment of the unsolicited marketing calls, I answered the
incoming call on 12/8/15 at 7:33 PM’ to investigate the caller
and obtain any identifying information as to the source. This
call was recorded’? via video camera (see digital file exhibit “E”

on CD-ROM).

10. Within minutes of ending this call, at 19:39 MST, I
received the first call from telephone caller ID: 720-440-5666.
I did not answer and a voice mail was left stating: "Hi, This is
Savannah from Loan Depot with some great news regarding your
recent mortgage refinance application if you're no longer
interested in mortgage information, please press pound to opt
out or call us at 866-965-9011. We are missing just a few pieces
of critical information necessary and getting you fully
approved, and it will only take a few minutes of your time. I
will be here until 8 p.m. Pacific time to assist you so please
call me back at 866-965-9011 again that number is 866-965-9011.
I know we can provide you with the lowest rates available, and I

look forward to hearing from you soon. Have a great day.”

 

? call leg on exhibit “C” indicates 12/9 at 02:33z due to time conversion from Mountain Standard

Time to UTC

? Federal and Colorado State law permit recording telephone calls and in-person conversations
with the consent of at least one of the parties. See 18 U.S.C. 2511{2)(d). Colo. Rev. Stat. § 18-
9-303 (1)

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(see digital file exhibit “F1” on CD-ROM) This was a pre-
recorded automated telephone call. Two more variations of this
same style of message from were recorded to voice mail on
12/9/15 and 12/10/15 (see digital file exhibit “F2” and “F3” on

CD-ROM)

11. That on 12/9/15, I attempted to finally demand these calls
stop by calling the telephone number as indicated on the
automated greeting “Thank You for calling Loan Depot, Please
wait while we connect your call to a banker”, followed by
silence and then the call disconnected within 10 seconds. A 2™*

attempt was made with the same result.

12. A total of 52 calls were received from caller ID: (720) 440-

5666. (also contained in exhibit “C”)

13. I cross-referenced this telephone number on the internet to
find multiple websites full of people complaining about the same
issue from the same phone number, some of which names Loan Depot

as the caller (see exhibit “G”)

14. On January 6, 2016 I created and mailed affidavit and
complaint to loanDepot.com, LLC. (furthermore referred to as
simply “loanDepot.com”) with the attention to “Legal

Department”. Also included was an invoice for the first 13 calls

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in an attempt to settle before bringing this matter to court. I

gave 14 days from receipt of my letter to respond.

15. I received a response letter dated January 18, 2016 stating
loanDepot.com, has received my notice of intent and that they
were currently investigating my assertions. They further stated
that they have added my phone number to their internal do not
call list. This letter was signed by David Kanno, Paralegal (see

exhibit “H”)

16. I performed a public business entity search through the
Nevada Secretary of State and discovered the registered agent as
well as the principal named officers of loanDepot.com, I wrote a
second letter dated January 25, 2016, and stated that though
there was no response to my first letter (the 2™ letter was sent
before receiving their initial response later that day), I was
granting them an additional 16 days to respond and resolve since
was able to forward each principal a copy of my complaint. (see

exhibit “I” for proof of mailing)

17. On February 5, I received a response letter from Beth
Kearney, Vice president, Associate General Counsel for
loanDepot.com, (see exhibit “J”) In her letter to me, in
paragraph ‘A’, it summarized the company’s commitment to
obtaining express written consent before communicating with

customers, something which was never granted by me.

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18. In Paragraph ‘B’ Ms. Kearney stated that Through the
company’s investigation, the intended recipient or the call
center agent who entered the phone number into the lead database
transposed two numbers resulting in the company receiving my
phone number instead of the recipient. Regardless of how my
number was obtained, it was, and was used to place the

unsolicited calls.

19. Furthermore, in Paragraph ‘B’, Ms. Kearney stated that
there was an inaccuracy in my claim stating that loanDepot has
never used the number (303) 752-1621 and did not call me from
that number at any time, however this contradicts the fact that
I received 13 calls from an entity spoofing and/or hijacking
that number (since it is not a working number), and also her own
words as stated in paragraph 18 stating a transposition of two

digits occurred resulting in my number being entered.

20. On February, 25, I received a letter via email from Ms.
Kearney asking for a copy of my video evidence which I emailed
to her on the following day along with a letter stating that I
needed a response by my deadline Tuesday, March 1. I received no

response by my stated deadline.

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SECOND CAUSE OF ACTION -— TRESPASS ON THE CASE

 

21. Paragraphs 1 through 20 of FIRST CAUSE OF ACTION are

included by reference as though fully stated herein.

22. The TCPA and Federal Do Not Call Registry requires
telemarketers to follow specific guidelines concerning telephone
subscribers that do not wish to be called, and specifies minimum

statutory damages in the event of violations of the regulations.

23. The defendant willfully and knowingly violated Federal
Statutes and Regulations set forth by the TCPA, and Federal Do
Not call Registry in each instance. 47 USC 227(c) (5) states that
if the court finds the defendant willfully or knowingly violated
the regulations prescribed under this subsection, “triple

damages may be awarded”.

24. The defendant willfully and knowingly violated Colorado
State Law C.R.S. 6-1-904 in each instance whereby making it
unlawful to make telephone solicitations to subscribers on the
Colorado no-call list. C.R.S. 6-1-113 states if found guilty,
the defendant may be liable in an amount equal to the sum of:
(a) The greater of: $500 per instance or treble damages of 3
times the amount of actual damages sustained, if it is
established by clear and convincing evidence that such person
engaged in bad faith conduct; plus (b) In the case of any

successful action to enforce said liability, the costs of the

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action together with reasonable attorney fees as determined by

the court.

THIRD CAUSE OF ACTION - TRESPASS ON THE CASE

 

VICARIOUS LIABILITY
25. Paragraphs 1 through 20 of FIRST CAUSE OF ACTION are

included by reference as though fully stated herein.

26. Whether the unsolicited telephone calls were placed

directly by loanDepot.com or an outside firm contracted by them
matters not as it is just as much responsibility for the hiring
entity as it is the contracted entity to ensure compliance with

all applicable laws.

27. ‘The purpose of imposing vicarious liability is to insure
the costs of injuries resulting from defective actions are
placed on the source of the actions and others who make the
actions possible rather than on injured persons who are
powerless to protect themselves. For a defendant to be
vicariously liable it must play an integral and vital part in
the overall production and promotion activity so that the actor
is in a position to affect others or, at the very least, it must
provide a link in the chain of exposing the ultimate victim to
the actor. The vicariously liable defendant must be in the
business of controlling, leasing, bailing, or licensing the

actors.

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28. Each defendant is an agent of the other, and each has his
place in the chain of exposing plaintiff James to the actors.
Each defendant is vicariously liable for each instance of injury

to plaintiff.

29. For that cause of action therefore Plaintiff brings his

suit.

LAW OF THE CASE

30. Exhibit “J” is incorporated by reference as though fully

stated herein.

REQUEST FOR RELIEF

31. WHEREFORE, Plaintiff prays judgment against Defendant, and

each of them, as follows:

32. On 64 counts of unsolicited telephone calls:

33. For treble damages in the sum of $96,000;

34. For costs of suit incurred and attorney's fees; and

35. For interest as allowed by law;

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36. For such other and further relief as the court may deem

proper.

37. I declare under penalty of perjury that the foregoing facts

are true and correct to the best of my knowledge.

March 11, 2016, County of Boulder, Colorado

 

J A McKee
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